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Case 2:20-cr-00018-RJB Document 26 Fil

 

Presented to the Court by the foreman of the
Grand Jury in open Court, in the presence
of the Grand Jury and FILED in the US.
DISTRICT COURT at Seattle, Washington

January 27, 2021

 

WILLIAM M. McCOOL, Clerk
By Deputy

 

 

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

UNITED STATES OF AMERICA,
Plaintiff,

Vv.
MICHAEL JOHN SCOTT,
Defendant.

 

 

The Grand Jury charges that:

COUNT 1

CASE NO. CR20-0018 RJB

FIRST SUPERSEDING INDICTMENT

(Conspiracy to Distribute Controlled Substances)

Beginning at a time unknown, but not earlier than December 12, 2018, and

continuing until on or about January 30, 2020, in Snohomish and Whatcom Counties,

within the Western District of Washington, and elsewhere, MICHAEL JOHN SCOTT,

and others known and unknown, did knowingly and intentionally conspire to distribute

substances controlled under Title 21, United States Code, Section 812, Schedules I and II,

to wit: heroin, methamphetamine, and N-pheny|-N-[1-(2-phenylethyl)-4-piperidiny]]

propanamide (Fentanyl), contrary to the provisions of Title 21, United States Code.

FIRST SUPERSEDING INDICTMENT

United States v. Michael John Scott, CR20-0018 RIB - 1

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The Grand Jury further alleges that MICHAEL JOHN SCOTT’s conduct as a
member of the conspiracy charged in Count 1, which includes the reasonably foreseeable
conduct of the other members of the conspiracy charged in Count 1, involved 100 grams
or more of a mixture or substance containing a detectable amount of heroin; 5 grams and
more of methamphetamine, its salts, isomers, and salts of its isomers; and 40 grams or
more of a mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-
phenylethyl)-4-piperidinyl] propanamide (Fentany)), all in violation of Title 21, United
States Code, Section 841(b)(1)(B).

The Grand Jury further alleges that MICHAEL JOHN SCOTT committed this
offense while on release pursuant to an appearance bond dated December 12, 2018,
issued by the United States District Court for the Western District of Washington, in
United States v. Michael John Scott, case number CR18-5579-RBL.

All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1), and
846, and Title 18, United States Code, Section 3147(1).

COUNT 2
(Possession of Controlled Substances With Intent to Distribute)

On or about January 30, 2020, at Whatcom County, within the Western District of
Washington, MICHAEL JOHN SCOTT did knowingly possess, with the intent to
distribute, and aid and abet the possession of with the intent to distribute, substances
controlled under Title 21, United States Code, Section 812, Schedules I and I, to wit,
heroin and N-pheny]!-N-[1-(2-phenylethy!)-4-piperidinyl] propanamide (Fentanyl).

The Grand Jury further alleges that this offense involved 100 grams or more of a
mixture or substance containing a detectable amount of heroin and 40 grams or more of a
mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethy!)-
4-piperidinyl] propanamide (Fentanyl), in violation of Title 21, United States Code,
Section 841(b)(1)(B).

The Grand Jury further alleges that this offense was committed during and in

furtherance of the offense charged in Count 1 (Conspiracy).

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The Grand Jury further alleges that MICHAEL JOHN SCOTT committed this
offense while on release pursuant to an appearance bond dated December 12, 2018,
issued by the United States District Court for the Western District of Washington, in
United States v. Michael John Scott,.case number CR18-5579-RBL.

All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(B), and Title 18, United States Code, Sections 3147(1) and 2.

COUNT 3
(Possession of Controlled Substances With Intent to Distribute)

On or about January 30, 2020, at Snohomish, within the Western District of
Washington, MICHAEL JOHN SCOTT did knowingly possess, with the intent to
distribute, and aid and abet the possession of with the intent to distribute, substances
controlled under Title 21, United States Code, Section 812, Schedules I and IL, to wit,
methamphetamine.

The Grand Jury further alleges that this offense involved 5 grams and more of
methamphetamine, its salts, isomers, and salts of its isomers, in violation of Title 21,
United States Code, Section 841(b)(1)(B).

The Grand Jury further alleges that this offense was committed during and in
furtherance of the offense charged in Count 1 (Conspiracy).

The Grand Jury further alleges that MICHAEL JOHN SCOTT committed this
offense while on release pursuant to an appearance bond dated December 12, 2018,
issued by the United States District Court for the Western District of Washington, in
United States v. Michael John Scott, case number CR18-5579-RBL.

All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(B), and Title 18, United States Code, Sections 3147(1) and 2.

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COUNT 4
(Felon in Possession of a Firearm)

On or about January 30, 2020, at Snohomish, within the Western District of
Washington, MICHAEL JOHN SCOTT, knowing that he had been convicted of the
following crimes punishable by a term of imprisonment exceeding one year, to wit:

a. Violation of the Uniform Controlled Substances Act (Possess With Intent to
Manufacture or Deliver Cocaine), on October 17, 2014, in King County Superior Court,
Case No. 14-1-04120-5 SEA; and

b. Conspiracy to Distribute Controlled Substances, on January 24, 2020, in
the United States District Court for the Western District of Washington, Case No.
CR18-5579RBL,

did knowingly possess, in and affecting interstate and foreign commerce, a firearm, to
wit: a Colt Delta Elite 10mm semi-automatic pistol, bearing serial number DS42017,
which had been shipped and transported in interstate and foreign commerce.

The Grand Jury further alleges that MICHAEL JOHN SCOTT committed this
offense while on release pursuant to an appearance bond dated December 12, 2018,
issued by the United States District Court for the Western District of Washington, in
United States v. Michael John Scott, case number CR18-5579-RBL.

All in violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(2), and
3147(1).

COUNT 5
(Possession of a Firearm in Furtherance of Drug Trafficking)

On or about January 30, 2020, at Snohomish, within the Western District of
Washington, MICHAEL JOHN SCOTT knowingly and intentionally possessed a firearm,
to wit: a Colt Delta Elite 10mm semi-automatic pistol, bearing serial number DS42017,
in furtherance of a drug trafficking offense for which he may be prosecuted in a Court of
the United States, to wit: Conspiracy to Distribute Controlled Substances, as charged in

Count 1, above.

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The Grand Jury further alleges that MICHAEL JOHN SCOTT committed this
offense while on release pursuant to an appearance bond dated December 12, 2018,
issued by the United States District Court for the Western District of Washington, in
United States v. Michael John Scott, case number CR18-5579-RBL.

All in violation of Title 18, United States Code, Sections 924(c)(1)(A) and
3147(1).

COUNT 6
(Conspiracy to Commit Money Laundering)

Beginning at a time unknown, but not earlier than December 12, 2018, and
continuing until on or about January 30, 2020, in Snohomish and Whatcom Counties,
within the Western District of Washington, and elsewhere, MICHAEL JOHN SCOTT,
and others known and unknown, unlawfully and knowingly combined, conspired,
confederated and agreed together and with each other to commit certain money
laundering offenses under Title 18, United States Code, Section 1956, as follows:

1956(a)(1)(B)()

Did conduct and attempt to conduct financial transactions, that is: transactions
involving the movement of funds by wire and other means affecting interstate and foreign
commerce, which in fact involved the proceeds of specified unlawful activity, that is,
conspiracy to distribute controlled substances, in violation of Title 21, United States
Code, Sections 841(a)(1) and 846, knowing that the transactions were designed in whole
or in part to conceal and disguise the nature, the location, the source, the ownership, and
the control of the proceeds of the specified unlawful activity, in violation of Title 18,
United States Code, Section 1956(a)(1)(B)@); and

1956(a)(2)(A)

Did transport, transmit, and transfer funds, and did cause other persons to do so,

from a place inside the United States, that is, the Western District of Washington, to a

place outside the United States, that is, Mexico, with the intent to promote the carrying on

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of specified unlawful conduct, that is, the Conspiracy to Distribute Controlled
Substances, as charged in Count 1 of this Indictment.

The Grand Jury further alleges this offense was committed during and in
furtherance of the conspiracy charged in Count 1, above.

The Grand Jury further alleges that MICHAEL JOHN SCOTT committed this
offense while on release pursuant to an appearance bond dated December 12, 2018,
issued by the United States District Court for the Western District of Washington, in
United States v. Michael John Scott, case number CR18-5579-RBL.

All in violation of Title 18, United States Code, Sections 1956(h) and 3147(1).

COUNT 7
(Money Laundering)

On or about January 29, 2020, MICHAEL JOHN SCOTT, and others known and
unknown, did knowingly transport, transmit, and transfer, and attempt to transport,
transmit, and transfer, and did aid and abet in the transport, transmission, and transfer,
funds, that is, $2,000, from a place inside the United States, that is, Everett, in the
Western District of Washington, to a place outside the United States, that is, Mexico, via
a transfer by Individual 1 through DolEx Dollar Exchange, transaction number
AR7270000007610, to Individual 2, with the intent to promote the carrying on of
specified unlawful conduct, that is, the Conspiracy to Distribute Controlled Substances,
as charged in Count | of this Indictment.

The Grand Jury further alleges that this offense was committed during and in
furtherance of the Conspiracy to Commit Money Laundering, charged in Count 6, above.

The Grand Jury further alleges that MICHAEL JOHN SCOTT committed this
offense while on release pursuant to an appearance bond dated December 12, 2018,
issued by the United States District Court for the Western District of Washington, in
United States v. Michael John Scott, case number CR18-5579-RBL,

All in violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2, and
3147(1).

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ASSET FORFEITURE ALLEGATIONS

Drug Offenses

The allegations in Counts 1 through 3 of this First Superseding Indictment are
hereby realleged and incorporated by reference herein for the purpose of alleging
forfeiture to the United States pursuant to Title 21, United States Code, Section 853.

Pursuant to Title 21, United States Code, Section 853, upon conviction of the
felony drug offenses charged in Counts | through 3, defendant MICHAEL JOHN
SCOTT shall forfeit to the United States of America any and all property, real or
personal, constituting or derived from, any proceeds the defendants obtained, directly or
indirectly, as the result of such offenses, and shall further forfeit any and all property, real
or personal, used, or intended to be used, in any manner or part, to commit, or to facilitate
the commission of, such offenses. The property to be forfeited includes, but is not
limited to, the following:

a. Fourteen thousand, one hundred dollars ($14,100.00), more or less, seized
from a 2014 black BMW 535 bearing Washington license plate BMV064,
located in Whatcom County, Washington, on January 30, 2020;

b. Nine thousand, nine hundred and eighty dollars ($9,980.00), more or less,
seized from 8024 150th Street SE, Snohomish, Washington, on January 30,
2020;

C. Two gold fifty-dollar ($50) bars, seized from 8024 150th Street SE,
Snohomish, Washington, on January 30, 2020;

d, Two one-ounce gold bars, seized from 8024 150th Street SE, Snohomish,
Washington, on January 30, 2020;

e. Four wristwatches, to include: (1) a limited edition Chicago Cubs
wristwatch; (2) a silver Rolex wristwatch; (3) a Gucci wristwatch; and (4) a
ladies Rolex wristwatch, all seized from 8024 150th Street SE, Snohomish,
Washington, on January 30, 2020;

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f. Two diamond rings, seized from 8024 150th Street SE, Snohomish,
Washington, on January 30, 2020; and
g. A sum of money representing the proceeds that MICHAEL JOHN SCOTT
obtained as a result of the Conspiracy to Distribute Controlled Substances,
as alleged in Count 1, above.
Firearms Offenses

The allegations in Counts 4 and 5 of this First Superseding Indictment are hereby
realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to
Title 18, United States Code, Section 924(d)(1) and Title 28, United States Code, Section
2461(c).

Upon conviction of the felony offenses alleged in Counts 4 and 5, defendant
MICHAEL JOHN SCOTT shall forfeit to the United States any firearms or ammunition
involved in or used in any knowing violation of Title 18, United States Code, Section
922(g), including, but not limited to, the following:

a. One Colt Delta Elite 10mm semi-automatic pistol, bearing serial number

DS42017, ammunition and a magazine, seized from 8024 150th Street SE,
Snohomish, Washington, on January 30, 2020.
Money Laundering Offenses

The allegations in Counts 6 and 7 of this First Superseding Indictment are hereby
realleged and incorporated by reference herein for the purposes of alleging forfeiture to
the United States pursuant to Title 18, United States Code, Section 982(a)(1).

Upon conviction of the felony offenses in violation of Title 18, United States
Code, Sections 1956, as charged in Counts 6 and 7, MICHAEL JOHN SCOTT shall
forfeit to the United States of America any property, real or personal, involved in such
offense, and any property traceable to such property, including but not limited to a
judgment for a sum of money representing the property described in this paragraph.

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Substitute Assets
If any of the property described above, as a result of any act or omission of the
defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the Court;
d. has been diminished in value; or
e. has been commingled with other property which cannot be divided without
difficulty,
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the above-described forfeitable property.

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BRIAN T. MORAN

 

| United, States Attorney
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VINCENT T. LOMBARDI
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AMARCI L. ELLSWORTH
Assistant United States Attorney

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Assistant United States Attorney

 

FIRST SUPERSEDING INDICTMENT
United States v. Michael John Scott, CR20-0018 RJB - 10

it is the intent of the United States, pursuant to Title 21, United States Code, Section
853(p), to seek the forfeiture of any other property of the defendants up to the value of

A TRUE BILL:
DATED: “Sou UV) LU
(Signature of Foreperson redacted

pursuant to the policy of the Judicial
Conference of the United States)

 

FOREPERSON

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